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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

SOLOMAN OLUDAMISI AJIBADE and
ADENIKE HANNAH AJIBADE, as natural
parents of Mathew Ajibade, and

THE ESTATE OF MATHEW AJIBADE and                 CASE NO. 4:16-CV-82-WTM-GRS
Chris Oladapo, its Executor,

      Plaintiffs,

             v.

JOHN WILCHER, in his official capacity as
Chatham County Sheriff, et al.,

      Defendants.

                                 JOINT STATUS REPORT

       The parties hereby submit this Joint Status Report in accordance with the Court’s

Scheduling Order dated June 6, 2017.

1.     The date and place of the conference of trial counsel, the duration thereof, and
       the names and addresses of counsel participating.

       This conference took place on August 14, 2017 by telephone and lasted 30 minutes.

       The following counsel and parties participated in the status conference:

       Plaintiffs:
       Cameron Kuhlman, 236 East Oglethorpe Avenue, Savannah, Georgia 31401
       Bill Cash III, 316 South Baylen Street, Suite 600, Pensacola, Florida 32502
       Mark O’Mara, 221 NE Ivanhoe Blvd, Suite 200, Orlando, Florida 32804

       Defendants Corizon and Brown:
       Tom Withers
       Eric Frisch, 191 Peachtree Street NE, Suite 3600, Atlanta, GA 30303.




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       Defendant Sheriff:
       Jennifer Burns, 124 Bull Street, Savannah, Georgia 31401
       Jonathan Hart, same
       Ben Perkins, 218 West State Street, Savannah GA 31401

       Defendants Evans-Martinez and Johnson:
       Ben Perkins (above)

       Defendant Evans:
       Bobby Phillips

       Defendant Jason Kenny: pro se

2.     A summary of pleadings for each party.

       Plaintiffs: Plaintiffs are the Estate of Mathew Ajibade, Mr. Ajibade’s parents, and

the executor of his estate. Plaintiffs’ complaint alleges claims of excessive force and

deliberate indifference against the Defendants, arising from an attack and torture

committed against him by the Sheriff’s deputies, and then all Defendants’ deliberate

indifference to his serious medical needs. Plaintiffs assert Monell liability against the

Sheriff and individual constitutional claims against the deputies. Plaintiffs also bring

state-law claims for wrongful death, assault, and battery.

       Corizon Defendants: Corizon, LLC appeared and answered Plaintiffs’ Complaint on

May 31, 2016. (Doc. 56). Corizon Health, Inc. and Gregory Brown, LPN appeared and

answered Plaintiffs’ Complaint on May 31, 2016. (Doc. 57). Corizon, LLC, Corizon Health,

Inc., and Greg Brown denied the material allegations and raised affirmative defenses.

       Defendant Sheriff Wilcher: The Sheriff appeared and timely answered Plaintiffs’

Complaint (doc. 1) as corrected (doc. 21) on May 19, 2016 (doc. 50). The Sheriff’s motion

for partial summary judgment and supporting briefs are pending. (Docs. 113, 124, and 139).


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       Defendant Debra Johnson: Ms. Johnson appeared and timely answered Plaintiffs’

Complaint (doc. 1) as corrected (doc. 21) on May 6, 2016 (doc. 41).

       Defendant Andrew Evans-Martinez: Mr. Evans-Martinez appeared and timely

answered Plaintiffs’ Complaint (doc. 1) as corrected (doc. 21) on May 20, 2016 (doc. 41).

3.     A statement of any disagreements to the jurisdiction and venue of the Court,
       including citations of applicable authorities in support of each side’s contentions.

       None.

4.     The status of matters which are presently set before the Court, e.g., hearings,
       motions, trial date, etc.

       The Court has before it:

                The Sheriff’s motion for summary judgment on grounds of Eleventh

                 Amendment immunity (ECF No. 113).

                Motions relating to the second deposition of Betty Riner (ECF Nos. 145, 146).

       The parties are unaware of any other pending motions or any hearings or trial dates

currently set.

5.     The status of discovery. If discovery has not been completed, then the report shall
       set forth a detailed and precise time schedule for the full completion thereof.
       Counsel should be advised that the Local Rules will be strictly adhered to,
       requests for extensions should be avoided, and all discoveries completed during
       the time allotted.

       Fact discovery is mostly complete, with the sole exception being the second

deposition of Betty Riner. The parties have served expert reports and have begun expert

depositions.

       All parties intend to see that expert depositions are completed by October 2. There

are fourteen depositions left, and not all depositions have yet been scheduled. Experts are



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located in places including California, Michigan, New Jersey, Nevada, Florida, and

Georgia. Mindful of the Court’s past orders, the parties nevertheless discussed the

possibility of seeking a further extension to complete expert discovery.

       Plaintiffs note that Defendants have not yet offered a deposition date for each

expert so it has not yet been possible to schedule all remaining depositions.

6.     The names of any parties who should be joined or added, together with a detailed
       statement of reasons thereof.

       No party is anticipated to be added.

       Corizon LLC asked to be dismissed from the action.

7.     The contentions of fact of each party in detail. Do not argue your case, simply tell
       the Court what the facts are as seen by each side.

       Plaintiffs: Plaintiffs set forth their view of some of the relevant facts in their

opposition to the Sheriff’s motion for summary judgment (ECF No. 114 at 2–5).

       Mathew Ajibade, a 21-year-old college student with a documented history of

mental illness, experienced an episode of his bipolar disorder on January 1, 2015. Police

were summoned to a domestic incident at a convenience store parking lot. Mathew was

not acting in a mentally stable manner and the arresting officers debated whether he

should be transported to a mental hospital. Instead, he was taken to the jail operated by

the Sheriff, under the County’s rules and regulations. The police officers informed

booking deputies of their concerns regarding Mathew’s mental health and gave those

deputies Mathew’s pill bottle for Depakote, a medicine that treats bipolar disorder. That

bottle was given to Defendant Brown, an employee of Corizon, which had a contract to

run the jail’s medical services.


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       Deputies left Mathew alone for a nearly four-hour period and then escorted him

out of his cell. After Mathew continued to exhibit signs of mental distortion and

confusion, they knocked him to the ground, set upon him, and attacked him with closed

fists, kicks, and a Taser. During this altercation, an elderly deputy fell over. In retribution

for this scuffle, the deputies and their supervisor Defendant Johnson decided to strap

Mathew to a restraint chair, and hold him in a cell in an older part of the jail where there

were no surveillance cameras. Defendant Kenny Tasered Mathew in this cell four times.

These Taserings of a restrained mentally ill man were pure torture not inflicted for any

justified or penological purpose.

       Defendant Brown, who witnessed the attack on Mathew, did nothing to render any

medical care, spending only about 50 seconds in the cell with him and only for the

purpose of checking his restraints to the chair. Defendant Brown never entered the cell

again; nor did anyone else.

       Mathew died strapped to the chair. The coroner and the Georgia Bureau of

Investigation’s medical examiner each ruled Mathew’s death a homicide at the hands of

the deputies and Corizon’s nurse. The Sheriff fired ten people for misconduct, including

many of the individual Defendants, and three of the individual Defendants were

criminally tried and convicted.

       The Sheriff had a history of problems with the excessive use of force and failure to

render medical treatment. After, but only after, this incident did the Sheriff remove Tasers

from the jail and conduct a review of excessive Taser use in the facility. That review

uncovered several other misuses of Tasers, including an episode where a deputy was


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allowed to take a Taser home and threaten a child with it. The Sheriff told the Washington

Post that Taser usage was out of control and that deputies were using the Taser as

punishment. Also, the Sheriff, who at one time expressed satisfaction with Corizon’s

services, soured on Corizon after, but only after, this incident and wrote that Defendant

Brown was summarily “banished” from the building. This history and other facts show

that the Sheriff willfully disregarded and failed to control the abuse of force in the facility

and failed to monitor and ensure that Corizon provided appropriate levels of care. For its

part, Corizon failed to maintain proper staffing levels, failed to keep key administrative

staff filled (including the fact that there was no medical director on duty, nor had there

been for months), and experienced extremely high levels of turnover. Corizon permitted

nurse Brown to be in the jail, unsupervised, after just four days on the job. Corizon’s

administrative failures contributed to and caused Mathew’s death.

       Corizon Defendants: Mathew Ajibade was brought to the Chatham County

Detention Center (“CCDC”) on January 1, 2015 after being arrested for domestic violence.

Mr. Ajibade was medically cleared at the scene. At the CCDC, custodial staff placed Mr.

Ajibade in a holding cell to await pre-booking.

       After a period of time, custodial staff started pre-booking Mr. Ajibade. While

attempting to have Mr. Ajibade sit in a chair for the pre-booking process, Mr. Ajibade did

not comply. A physical altercation ensued between Mr. Ajibade and several officers.

       When the altercation started, Corizon Health, Inc.’s employee, Greg Brown, LPN,

was performing an intake screening on a female detainee. Mr. Brown was not aware that

Mathew Ajibade was a new male arrival at the CCDC. Mr. Brown heard a commotion,


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looked outside of his work area and observed the deputies trying to restrain a male,

African American detainee. Mr. Brown then assisted security staff with returning the

female detainee to a holding cell.

       Mr. Brown next observed a female deputy get injured during the altercation. Per

protocol, Mr. Brown did not interfere with the attempts by the security staff to restrain

the male detainee. Mr. Brown was able to remove the injured deputy and he summoned

assistance for her while he tended to her immediate injuries. Meanwhile, the altercation

continued.

       Eventually, deputies secured Mr. Ajibade’s hands and legs. The custodial officers

then placed Mr. Ajibade in a restraint chair and moved him to a holding cell. Custodial

staff alerted Mr. Brown that the male detainee was restrained. Per protocol, Mr. Brown

went into the cell to check the restraints and assess the restrained male detainee. Mr.

Brown returned to check on the restrained male detainee at approximately 1:32 AM on

January 2, 2015. Mr. Brown found that the restrained male detainee was unresponsive. Mr.

Brown started resuscitation and summoned additional help. Resuscitation efforts

continued for a significant period of time, including the use of an automatic external

defibrillator and Ambu-bag. The male detainee was transported to the hospital, where he

was declared deceased.

       Ms. Johnson and Mr. Evans-Martinez: Plaintiffs allege against these Defendants

Section 1983 excessive force claims (Count I), Section 1983 deliberate indifference to

physical and mental health needs claims (Count II), wrongful death claims (Count V), and

state law assault and battery claims (Count VI). Ms. Johnson and Mr. Evans-Martinez did


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not apply any force to Mr. Ajibade, and thus logically deny they used or acquiesced in any

alleged excessive force. Ms. Johnson and Mr. Evans-Martinez deny they were deliberately

indifferent to Mr. Ajibade’s alleged (and unknown at the time) serious medical needs.

Neither Ms. Johnson nor Mr. Evans-Martinez assaulted nor battered Mr. Ajibade (Plaintiffs

are in possession of surveillance footage which confirms as much, but nonetheless

maintain the claims in violation of Rule 11). Finally, Ms. Johnson and Mr. Evans-Martinez

bear no liability on Mr. Ajibade’s wrongful death claim.

       Sheriff Wilcher: Plaintiffs allege against Sheriff Wilcher a Section 1983 “Pattern and

Practice of substandard medical conditions” claim (Count III), a Section 1983 “Pattern and

Practice of Excessive Force” claim (Count IV), a wrongful death claim (Count V), and an

assault and battery claim (Count VI). Plaintiffs concede their assault and battery claim is

barred by sovereign immunity (doc. 114, p. 24). Plaintiffs’ excessive force claim is barred

by Eleventh Amendment immunity (Docs. 113, 124, and 139). Count III fails because there

is no evidence of substandard medical conditions at the CCDC (indeed, the facility had

been reaccredited by a leading medical accreditation agency shortly before the subject

incident), nor any purported notice of any such substandard conditions. The Sheriff is not

liable for Mr. Ajibade’s alleged wrongful death.

8.     A summary of disputed facts.

       Plaintiffs:

       Plaintiffs believe the facts disputed by one party or another include:

             What was done, and the degree of care exercised, in booking Mathew into

              the facility and investigating his history of mental illness.


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             What occurred during the scuffle between Mathew and the deputies.

             What certain Defendants knew or should have known about the scuffle and

              Mathew’s mental state.

             What certain Defendants did or did not do with regard to the treatment of

              Mathew when he was placed into a restraint chair and a cell after the scuffle.

             What certain individuals did to render any medical care to Mathew or to

              treat Mathew with any basic decency after he was Tasered.

             The level of knowledge the Sheriff had about constitutionally infirm

              medical conditions or uses of force.

             What Corizon did to ensure that the care rendered in the jail met the

              standard of care or met constitutional levels of care.

             What the organizational defendants did to establish appropriate policies

              and whether they saw that their policies were carried out.

      Plaintiffs agree that the “facts” raised by the Defendants below are mostly in

dispute, but also assert that some of the contentions made by the Defendants are really

disputed legal matters (e.g., whether certain Defendants are entitled to summary

judgment).

      Corizon Defendants:

      The Corizon Defendants dispute that Corizon, LLC had any involvement with the

provision of healthcare services at the CCDC.

      The Corizon Defendants dispute that Greg Brown knew that the male detainee the

deputies were trying to restrain was Mathew Ajibade.


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       The Corizon Defendants dispute that Greg Brown knew that Mathew Ajibade had

an alleged serious mental health condition while he was at the CCDC.

       Sheriff Wilcher: It is the Sheriff’s position that no material fact is in dispute as to

the claims alleged against him, and thus he is entitled to summary judgment. There is no

evidence that the Sheriff had reason to believe that medical conditions at the CCDC were

any less than the MAG audit revealed them to be when it fully accredited the facility

shortly before Mr. Ajibade’s death. Despite reams of discovery and scores of depositions,

Plaintiffs have adduced no evidence to support their Monell excessive force claim.

Assuming arguendo Plaintiffs had some evidence, the claim is barred by Eleventh

Amendment immunity in any event.

       Ms. Johnson and Mr. Evans-Martinez: It is Ms. Johnson and Mr. Evans-Martinez’s

position that no material fact is in dispute as to the claims alleged against them, and thus

they are entitled to summary judgment. There is simply no evidence of deliberate

indifference, no evidence of a use of force (much less excessive force) by either of them,

no evidence of acquiescence in any alleged excessive use of force by another officer, nor

evidence that they even laid hands on Mr. Ajibade (thus rendering the assault and battery

claim spurious).

9.     A summary of disputed legal issues.

       Plaintiffs:

       Plaintiffs believe that at least the following legal issues may be in dispute:

             Whether certain core defenses, such as qualified immunity or the Eleventh

              Amendment shield any of the Defendants.


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                   Whether Monell liability can be established against the Sheriff.

                   Whether and how any Defendant has indemnified any other Defendant

                    (e.g., whether Corizon indemnifies the Sheriff).

          At the conference, not much time was spent discussing specific “legal issues.”

Plaintiffs assume that they bear the burden of proving their claims. The Defendants did

not raise many “legal issues” at the conference. Regarding many of the “legal issues” the

Defendants raised, many appear to just be contentions without raising a specific issue.

(E.g., defendant “is not liable to Plaintiffs.”) Further illumination of exactly which legal

issues remain would assist in resolving this action.

          Corizon Defendants:

          (a)       Corizon Health, Inc. is not liable to Plaintiffs for alleged deliberate

indifference to Mr. Ajibade’s serious medical needs or violate Mr. Ajibade’s constitutional

rights.

          (b)       Gregory Brown, LPN is not liable to Plaintiffs for alleged deliberate

indifference to Mr. Ajibade’s serious medical needs or violate Mr. Ajibade’s constitutional

rights.

          (c)       Corizon, LLC is not liable to Plaintiffs for alleged deliberate indifference to

Mr. Ajibade’s serious medical needs or violate Mr. Ajibade’s constitutional rights.

          (d)       Corizon Health, Inc. did not maintain a pattern or practice of deficient

medical or mental health care that rose to the level of policy and that was the cause of Mr.

Ajibade’s alleged injuries or death.




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       (e)     Nothing Plaintiffs contend Corizon Health, Inc. allegedly did or failed to do

was the cause-in-fact of Mr. Ajibade’s death.

       (f)     Nothing Plaintiffs contend Mr. Brown allegedly did or failed to do was the

cause-in-fact of Mr. Ajibade’s death.

       (g)     Nothing Plaintiffs contend Corizon, LLC did or failed to do was the cause-in-

fact of Mr. Ajibade’s death.

       (h)     Nothing Plaintiffs contend Corizon Health, Inc. allegedly did or failed to do

was the proximate cause of Mr. Ajibade’s death.

       (i)     Nothing Plaintiffs contend Mr. Brown allegedly did or failed to do was the

proximate cause of Mr. Ajibade’s death.

       (j)     Nothing Plaintiffs contend Corizon, LLC did or failed to do was the

proximate cause of Mr. Ajibade’s death.

       (k)     Plaintiffs are not entitled to recover any alleged damages from the Corizon

Defendants.

       (l)     Plaintiffs are not entitled to an award of punitive damages against the

Corizon Defendants.

       (m)     Whether Plaintiffs can recover punitive damages for the ancillary wrongful

death claim under Georgia law.

       (n)     Plaintiffs are not entitled to an award of attorneys’ fees against the Corizon

Defendants.

       Defendants Sheriff, Johnson and Evans-Martinez: none of these Defendants are

liable to Plaintiffs on any of their claims.


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        Defendant Sheriff: asserts that he is entitled to Eleventh Amendment immunity.

        Defendants Johnson, Evans-Martinez, and Evans: assert that they are not liable for

assault or battery.

10.     Any proposed amendments to the pleadings and a brief statement of their
        necessity.

        Plaintiffs intend to amend their complaint to correct certain errors and reflect the

dismissal of previously-dismissed defendants. Plaintiffs will consider Corizon LLC’s

request to be dismissed from the case. The Defendants agreed to Plaintiffs’ amending the

complaint if it does not add new claims.

11.     A statement of any law and motion matters contemplated. If the Court on any
        prior occasion has indicated it would decide matters pre-trial, a brief summary of
        those matters and the position of each party with respect thereto should be
        included.

        Plaintiffs: Plaintiffs do not anticipate filing any motions at this point, except

Daubert motions. The other Defendants did not disclose the nature of all their anticipated

motions at the conference or in followup communications thereafter.

        Corizon Defendants: The Corizon Defendants anticipate filing motions for

summary judgment by the deadline set forth in the scheduling order. The Corizon

Defendants anticipate filing motions to exclude expert opinions under FRE 702, 703, and

704 by the deadline set forth in the scheduling order.

        Sheriff Wilcher: The Sheriff’s partial motion for summary judgment (docs. 113, 124,

and 139) is pending. The Sheriff will move for summary judgment on each of Plaintiffs’

claims within the dispositive motions deadline, and will file motions to exclude certain




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expert opinions under FRE 702, 703, and 704 by the deadline set forth in the scheduling

order.

         Defendants Johnson and Evans-Martinez: These Defendants will move for

summary judgment on each of Plaintiffs’ claims within the dispositive motions deadline,

and will file motions to exclude certain expert opinions under FRE 702, 703, and 704 by

the deadline set forth in the scheduling order.

12.      If either party has any request for the trial of certain issues first, or bifurcation for
         possibly shortening the trial, this should be included.

         All Defendants who spoke at the conference asked that the issue of punitive

damages be bifurcated. Plaintiffs oppose this request. No other proposals were discussed.

13.      If the case involves a class action governed by FRCP 23, state the areas and
         grounds for all disputes which exist as to certification by the Court as a class
         action under Rules 23 (a) and (b).

         Not applicable.

14.      An estimate of the number of trial days required. Where counsel cannot agree,
         then each party shall provide an estimate.

         Plaintiffs: Depending on the scope of claims and number of experts that survive

any motions, Plaintiffs anticipate that this trial could run 15 to 25 days. Plaintiffs disclosed

eight experts, the Sheriff has four and Corizon has four. Further, there are about ten

Defendants depending on how you count. It is too early to be too certain about the

number of days required.

         Corizon Defendants and Defendants Sheriff, Johnson, and Evans-Martinez:

Estimate 10-14 trial days.




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15.     A statement whether the case is a jury or non-jury trial.

        Jury trial.

16.     At the status conference, the Court will expect a serious discussion regarding
        settlement. The status report is to set forth the following:

        1. The realistic demand of the plaintiff(s).

        2. The realistic offer of the defendant(s).

        3. The specific aspects of the case which are inhibiting settlement, e.g.,
           outstanding discovery, pending motions, etc.

        4. The realistic likelihood that negotiations will continue.

        Plaintiffs:

        Plaintiffs initiated a pre-suit mediation that was attended in person in Atlanta by

counsel for the Sheriff and Corizon. At that mediation, Plaintiffs made an opening

demand of $25,000,000 for the pain, mental anguish, torture, killing, and full value of the

life of Mathew Ajibade. Defendants made no counteroffer.

        Not much has changed since mediation. The parties spent more time discussing

this item #16 than any other item on the Court’s list. Plaintiffs received the following

offers: Corizon Health and Brown, $150,000; Sheriff, $0; Evans, $2500; Johnson and

Evans-Martinez, $0; Kenny, $0; other Defendants: did not participate in this call.

        Plaintiffs’ demand, although it is negotiable and Plaintiffs would hope to continue

negotiations, remains $25,000,000. In Plaintiffs’ view, the collective offer of the

Defendants is not realistic to reflect the value of damages incurred, even if discounted by

the trial risk each party retains. One of the “specific aspects” of this case that inhibits

settlement appears to be the Sheriff’s unwillingness to negotiate. At the conference, the



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Sheriff indicated that “no offer was necessary” so long as the Sheriff had a pending

motion for summary judgment. Other Defendants maintain they have “complete

defenses” and need not offer anything.

        Negotiations will continue, but resolution seems unlikely if Defendants are not

willing to make serious offers.

        Corizon Defendants and Sheriff Wilcher: Prior to suit being filed, Plaintiffs

demanded $25 million collectively from the Corizon Defendants and the Sheriff. The $25

million demand is an impediment to reasonable settlement discussions. The Corizon

Defendants and Sheriff are prepared to attempt to resolve the case on reasonable terms

and will participate in further good-faith efforts to negotiate. The Sheriff’s complete

defenses to Plaintiffs’ claims, and his pending motion for partial summary judgment are

also likely to inhibit resolution.

        Ms. Johnson and Mr. Evans-Martinez: Neither of these Defendants have insurance

coverage for Plaintiffs’ claims, and have minimal assets, which is likely an impediment to

resolution. Moreover, Ms. Johnson and Mr. Evans-Martinez have complete defenses to

Plaintiffs’ claims.




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                               Respectfully submitted,



                               /s/ William F. Cash III
                               Troy A. Rafferty (Fla. Bar No. 024120)
                               Timothy M. O’Brien (Ga. Bar No. 548714)
                               William F. Cash III (Fla. Bar No. 68443)
                               LEVIN, PAPANTONIO, THOMAS,
                               MITCHELL, RAFFERTY & PROCTOR, P.A.
                               316 South Baylen Street, Suite 600
                               Pensacola, FL 32502
                               Phone:     850-435-7059
                               Fax:       850-435-7020
                               E-mail: trafferty@levinlaw.com
                                          bcash@levinlaw.com

                               Mark O’Mara (Fla. Bar No. 359701)
                               Alyssa Flood (Fla. Bar No. 99755)
                               O’MARA LAW GROUP
                               221 NE Ivanhoe Boulevard
                               Orlando, FL 32804
                               Phone:    407-898-5151
                               Fax:      407-898-2468
                               E-mail: mark@omaralawgroup.com

                               William R. Claiborne (Ga. Bar No. 126363)
                               THE CLAIBORNE FIRM, P.C.
                               410 East Bay Street
                               Savannah, GA 31401
                               Phone:    912-236-9559
                               Fax:      912-236-1884
                               E-mail: will@claibornefirm.com

                               Cameron C. Kuhlman (Ga. Bar No. 596159)
                               DUFFY & FEEMSTER, LLC
                               236 E. Oglethorpe Ave.
                               Savannah, GA 31401
                               Phone:     912- 236-6311
                               Fax:      912- 236-6423
                               Email:    cck@duffyfeemster.com

                               Counsel for the Plaintiffs




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                               /s/ R. Jonathan Hart
                               R. Jonathan Hart (Ga. Bar. No. 333692)
                               Jennifer R. Burns (Ga. Bar No. 330328)
                               CHATHAM COUNTY ATTORNEY
                               PO Box 8161
                               Savannah, GA 31412
                               Phone:     912-652-7881
                               Fax:       912-652-7887
                               E-mail: rjhart@chathamcounty.org
                                          jburns@chathamcounty.org

                               Attorneys for Defendant John Wilcher

                               /s/ Thomas S. Carlock
                               Thomas S. Carlock (Ga. Bar. No.110200)
                               Eric Frisch (Ga. Bar. No. 261683)
                               CARLOCK, COPELAND & STAIR, LLP
                               191 Peachtree Street, NE Suite 3600
                               Atlanta, GA 30303
                               Phone:     404-522-8220
                               Fax:       404-523-2345
                               E-mail: tcarlock@carlockcopeland.com
                                          efrisch@carlockcopeland.com

                               Attorneys for Defendants Corizon Health, Inc.,
                               Corizon, LLC, and Gregory Brown

                               /s/ Robert P. Phillips III
                               Robert P. Phillips III (Ga. Bar. No. 576700)
                               PHILLIPS & CARSON
                               420 W. Broughton Street, 2nd Floor
                               Savannah, GA 31401
                               Phone:     912-232-0081
                               Fax:       877-617-1480
                               E-mail: bplaw@msn.com

                               Attorney for Defendant Maxine Evans




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                               /s/ Benjamin M. Perkins
                               Benjamin M. Perkins (Ga. Bar No. 140997)
                               OLIVER MANER, LLP
                               218 West State Street
                               Savannah, GA 31401
                               Phone:    912-236-3311
                               Fax:      912-236-8725
                               E-mail: bperkins@olivermaner.com

                               Attorneys for Defendants Andreux Evans-
                               Martinez, Debra Johnson and John Wilcher

                               /s/ Jason Kenny
                               Jason Kenny

                               Defendant Pro Se




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                                  CERTIFICATE OF SERVICE

       I certify that on August 14, 2017, this Joint Status Report will be filed on CM/ECF,

which will serve it on all parties.


                                           /s/ William F. Cash III
                                           William F. Cash III




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